     Case 3:15-cv-00024-L Document 92 Filed 06/08/16                Page 1 of 1 PageID 844


                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


CYNDI SCRUGGS,                                       §
                                                     §
              Plaintiff,                             §
                                                     §
v.                                                   §
                                                     §    Civil Action No. 3:15-CV-24-L
CHICK-FIL-A, INC. , HARRY G.                         §
DURBIN (and/or d/b/a and/or a/k/a                    §
CHICK-FIL-A at CUSTER and 121), and                  §
DELL’S MARASCHINO                                    §
CHERRIES CO., INC.,                                  §
                                                     §
              Defendants.                            §

                                             ORDER

       Before the court is the parties’ Agreed Motion to Dismiss With Prejudice, filed June 7,

2016. The parties have reached a complete settlement with respect to all claims asserted in this

case and no longer wish to pursue any such claims and causes of action. The court determines that

the motion should be, and is hereby, granted. Accordingly, all claims and causes of action asserted

by each party in this case are dismissed with prejudice. The parties shall bear their own costs.

All relief not expressly granted herein is denied.

       It is so ordered this 8th day of June, 2016.




                                                         _________________________________
                                                         Sam A. Lindsay
                                                         United States District Judge




Order – Solo Page
